           Case 1:22-cr-00051-TNM Document 18-2 Filed 09/14/22 Page 1 of 8




                                         Exhibit B
               Facebook Posts Referenced in Memorandum in Aid of Sentencing

Page 5 –
Case 1:22-cr-00051-TNM Document 18-2 Filed 09/14/22 Page 2 of 8




                               2
           Case 1:22-cr-00051-TNM Document 18-2 Filed 09/14/22 Page 3 of 8




Page 5 –




Page 5-6 –




Page 6 –




                                          3
Case 1:22-cr-00051-TNM Document 18-2 Filed 09/14/22 Page 4 of 8
Case 1:22-cr-00051-TNM Document 18-2 Filed 09/14/22 Page 5 of 8
Case 1:22-cr-00051-TNM Document 18-2 Filed 09/14/22 Page 6 of 8
Case 1:22-cr-00051-TNM Document 18-2 Filed 09/14/22 Page 7 of 8
Case 1:22-cr-00051-TNM Document 18-2 Filed 09/14/22 Page 8 of 8




                               8
